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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                          MIAMI DIVISION

                             CASE NO.: 1:20-cv-22133-MARTINEZ


  RYAN MAUNES MAGLANA
  and        FRANCIS           KARL
  BUGAYONG on their own behalf
  and as a class representatives of all
  other similarly situated Filipino
  crewmembers      trapped      aboard
  CELEBRITY cruise vessels,

          Plaintiffs,
                                                              CLASS ACTION &
  v                                                             DEMAND FOR
                                                                JURY TRIAL
  CELEBRITY CRUISES INC.,

        Defendant.
  ______________________________/

   AMENDED COMPLAINT FOR EMERGENCY INJUNCTIVE RELIEF & DAMAGES

          Plaintiffs, RYAN MAUNES MAGLANA and KARL FRANCIS BUGAYONG, on

  their own behalf and on behalf of all other similarly situated Filipino crewmembers

  trapped onboard CELEBRITY cruise vessels (hereinafter “PLAINTIFFS”), through

  undersigned counsel and pursuant to Federal Rule of Civil Procedure 15 (a)(1)(B), hereby

  sue Defendant, CELEBRITY CRUISES INC. (hereinafter “CELEBRITY”), and allege:

                                   JURISDICTION AND PARTIES

          1.     This case arises out of Defendant’s systemic, companywide discriminatory

  treatment of its Filipino employees in violation of federal and applicable state civil rights


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  laws, including but not limited to under Title VII of the Civil Rights Act of 1964 ("Title

  VII"), 42 U.S.C. § 2000e et seq. prohibiting discrimination on the basis of national origin

  in employment. However, at the time this submission was filed with the Court, Plaintiffs

  have submitted charges to the EEOC, but have not yet received the “Right to Sue” Notice

  from the Equal Employment Opportunity Commission (hereinafter “EEOC”) due to the

  agency’s decision to suspend the issuance of notices indefinitely due to the Coronavirus

  pandemic. Plaintiffs concede that this may render Defendant’s discriminatory conduct

  not ripe for adjudication for the time being but respectfully submit to the Court that the

  interests of justice demand a remedy for individuals who are suffering discrimination

  and the exigent circumstances involved in this crisis provide ample support for the Court

  to enter relief in their favor.

         2.      Plaintiff, RYAN MAUNES MAGLANA, is a citizen of the Philippines and

  was employed by Defendant on its vessel the Millennium. Plaintiff MAGLANA was an

  employee of Defendant CELEBRITY for over 14 years and during his most recent contract

  of employment with Defendant was employed as a Beverage Controller onboard the

  Millennium.

         3.      Plaintiff FRANCIS KARL BUGAYONG, is a citizen of the Philippines and

  was employed by Defendant on its vessel the Millennium. Plaintiff BUGAYONG was an

  employee of Defendant CELEBRITY for over 4 years and during his most recent contract

  of employment with Defendant was employed as a Bar Storekeeper onboard the

  Millennium.


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           4.      Defendant, CELEBRITY CRUISES INC., is a foreign entity which conducts

  its business from its principal place of business in Miami, Florida.

           5.      This court has subject matter jurisdiction over this action pursuant to 28

  U.S.C. §§ 1331 and 1343 because this action is brought under Title VII of the Civil Rights

  Act of 1964 ("Title VII"), 42 U.S.C. § 2000e et seq. prohibiting discrimination in

  employment on the basis of national origin.

           6.      In the alternative, Plaintiffs allege that this Court has original subject matter

  jurisdiction pursuant to 28 U.S.C. § 1333 under the Court’s admiralty jurisdiction.

           7.      The causes of action asserted in this Complaint arise under the General

  Maritime law of the United States and/or 46 U.S.C. Section 10313. The claims exceed the

  jurisdictional amount of this court, exclusive of interest and costs. This controversy is a

  class action brought under Federal Rule of Civil Procedure 23 and pursuant to 28 U.S.C

  § 1332(d)(2) in addition to Federal Rule of Civil Procedure 65.

           8.      Defendant, CELEBRITY, at all times material, personally or through an

  agent:

                a. Operated, conducted, engaged in or carried out a business venture in this

                   state and/or county and/or had an office or agency in this state and/or

                   county;

                b. Was engaged in substantial business activity within this state;

                c. Operated vessels in the waters of this state;




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                d. Committed one or more of the acts stated in Florida Statutes, Sections

                   48.081, 48.181 or 48.193; and/or

                e. The acts of Defendant set out in this Complaint occurred in whole or in part

                   in this county and/or state.

          9.       Defendant is subject to the jurisdiction of the Courts of this state.

          10.      At all times material hereto, Defendant owned, operated, managed,

  maintained and/or controlled a fleet of cruise ships, including the cruise vessel Celebrity

  Millennium where Plaintiff MAGLANA & BUGAYONG were held captive in addition to

  and thirteen (13) sister cruise ships and expedition ships in its worldwide fleet, including

  in no specific order, the: Silhouette, Apex, Solstice, Summit, Eclipse, Equinox, Edge, Infinity,

  Reflection, Constellation, Flor1, Expedition2, and Exploration 3.

          11.      At all times material hereto, Defendant operated the vessels in navigable

  waters.

          12.      At all times material hereto, the Celebrity Millennium and Eclipse were

  docked at the port in San Diego, California, and subject to the jurisdiction of the US

  federal courts, but at all times material, the vessel was operational and capable of

  navigation.

          13.      At all times material hereto, Defendant's base of operations and corporate

  headquarters are located in Miami, Florida.


  1, These   ships are smaller “expedition” class ships which Celebrity uses for voyages to
  ecologic sanctuaries such as the Galapagos Islands.
  2 Id.
  3 Id.

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         14.    At all times material hereto, Plaintiffs were “seamen” aboard their

  respective vessel to which they were assigned by Defendant to work, as the term

  “seamen” is defined under U.S. General Maritime Law and/or Title 46 of the U.S. Code

  § 10101.

         15.    “Seamen from the start were wards of admiralty.” U.S. Bulk Carriers, Inc. v.

  Arguelles, 400 U.S. 351, 355 (1971) (citing Robertson v. Baldwin, 165 U.S. 275, 287 (1897)). In

  1823, Justice Story declared: “Every Court should watch with jealousy an encroachment

  upon the rights of a seaman, because they are unprotected and need counsel; because

  they are thoughtless and require indulgence; because they are credulous and complying;

  and are easily overreached. But Courts of maritime law have been in the constant habit

  of extending towards them a peculiar, protecting favor and guardianship. They are

  emphatically the wards of the admiralty.” Harden v. Gordon, 11 Fed. Cas. 480 (No. 6047)

  (C.C. Me 1823). “From the earliest times maritime nations have recognized that unique

  hazards, emphasized by unusual tenure and control, attend the work of seafarer.” See

  Aguilar v. Standard Oil Co. of New Jersey, 318 U.S. 724, 727 (1943). The Aguilar Court further

  held: “the restrictions which accompany living aboard ship for long periods at a time

  combine with the constant shuttling between unfamiliar ports to deprive the seaman

  of the comforts and opportunities for leisure, essential for living and working that

  accompany most land occupations.” Id. at 728. (emphasis added)

         16.    In Chandris, Inc. v. Latsis, the U.S. Supreme Court reaffirmed the longstanding

  principle that seafarers are wards of Admiralty Courts, given the “feature of the maritime


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  law that compensate[es] or offset[s] the special hazards and disadvantages to which they

  who go down to sea in ships are subjected.” 515 U.S. 347, 355 (1995). The Fifth Circuit Court

  of Appeals explained the rationale for affording seafarers special protections in Castillo v.

  Spiliada Maritime Corp.,: “[Seafarers] enjoy this status because they occupy a unique position.

  A seaman isolated on a ship on the high seas is often vulnerable to the exploitation of his

  employer. Moreover, there exists a great inequality in bargaining position between large

  ship-owners and unsophisticated seafarer. Shipowners generally control the availability

  and terms of employment.” 937 F.2d 240, 243 (5th Cir. 1991) (emphasis added).

         17.    Accordingly, the Admiralty Courts have a rich tradition of protecting

  seafarers, which flows from the uniquely abhorrent conditions seafarers face at sea. And

  it is not just the Courts which recognize the need to protect seafarers, as “[t]he policy of

  Congress, as evidenced by its’ legislation, has been to deal with [seafarers] as a favored

  class.” Bainbridge v. Merchants' & Miners' Transp. Co., 287 U.S. 278 (1932).

         18.    Plaintiffs including class representatives MAGLANA and BUGAYONG, and

  their fellow Filipino class members worked for Defendant aboard Defendant’s vessels,

  were employees of Defendant until it unilaterally terminated their contracts at various

  points in time since the CDC’s March 14th no-sail Order and stopped paying agreed upon

  wages shortly thereafter.

               ALLEGATIONS COMMON TO ALL COUNTS PERTAINING TO
   DEFENDANT’S UNLAWFUL CONDUCT IN VIOLATION OF INTERNATIONAL LAW & U.S. LAW

         19.    The basis of the class action stems from Defendant CELEBRITY’s callous

  and inhumane business decision to keep crew members from specific countries captive

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  on board its passenger-less ships with no wages and no hopes of going home to family

  members in need, including infants, children, and elderly parents.

        20.    Despite having actual knowledge that the CDC had issued a no sail order

  as early as March 14, 2020 and the supplemental orders issued thereafter have prohibited

  cruise ships from operating in US waters through at least midsummer, a date which

  remains at risk to be delayed even further.

        21.    In fact, the Millennium where Plaintiff MAGLANA is currently being held

  captive has been without passengers since February 10th, 2020, nearly 100 days ago.

        22.    At that time, only Vietnam and Singapore would agree to allow the ship to

  dock at their respective ports after rejections at Hong Kong and Thailand. The ship stayed

  in Singapore after disembarking its last passengers on February 10th until February 14th,

  when the vessel departed from Singapore and sailed east to Manila, arriving in the

  Philippine capital on February 19th, 2020.

        23.    At the time, many of the vessel’s Filipino seafarers were excited at the

  prospect of returning to their home country and hopeful that they would be allowed to

  return home if the company was going to cancel cruises.

        24.    Unfortunately, the excitement was short lived and left just as quickly as it

  came. Less than twenty-four (24) hours after arriving in Manila Bay, PLAINTIFFS

  onboard the Millennium were cruelly taken from Manila in what felt like moments the

  ship’s Filipino seafarers eager to return home to their loved ones.




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         25.    The only crewmembers that were allowed to disembark for repatriation

  were those that both had concluded their contracts and had a suitable replacement

  onboard.

         26.    CELEBRITY, apparently oblivious to the media frenzy that was beginning

  across the globe which had begun to focus on the cruise lines collective role in facilitating

  the virus’s spread, and the ancillary fact that ships in its fleet, Millennium included, had

  already been passenger-less for close to 10 days.

         27.    The ship’s remaining Filipino crew were prevented from disembarking the

  ship despite it being obvious that there would be little need for vessels to be fully manned

  for the foreseeable future.

         28.    Despite the pleas of crewmembers on board to be allowed to disembark in

  their home port of Manila, Celebrity elected to refuel the Millennium and continue

  eastward to the western U.S. seaboard after a stop in Honolulu. The stop in Honolulu on

  March 1st came and went but the company was still reluctant to make a final decision to

  repatriate its crew, so the vessel sailed on eastward. Finally, the ship arrived in Ensenada,

  Baja California in Mexico on March 11, 2020.

         29.    In the interim, on March 13th, 2020, Royal Caribbean, CELEBRITY's parent

  company, suspended all of its future cruises, including those associated with its

  subsidiary companies, such as CELEBRITY. The following day, on or about March 14,

  2020, the CDC issued its first No Sail Order.




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         30.    Thus, without any doubt whatsoever, Defendant CELEBRITY knew that

  passenger cruises in the U.S. would be canceled until the C.D.C.’s No Sail Order is lifted,

  eventually.

         31.    Nonetheless, after 64 days since the C.D.C. issued the first no-sail order

  back on March 14th, the Millennium holds nearly 1000 Filipino crew members on board.

  Upon information and belief, there are at least 1700 Filipino seafarers being held captive

  throughout CELEBRITY’s fleet, and nearly 7,000 between those employed by Royal

  Caribbean Cruise Line, Azamara Cruise Line, Celebrity Cruise Line, and the other minor

  subsidiary brands owned by the Royal Caribbean/Celebrity holding entity.

         32.    The ship departed Ensenada 8 days later on March 19, 2020. Before leaving

  Ensenada, some crewmembers were allowed to disembark and sign-off. Many of the

  Filipino seafarers sought leave to sign off the ship at that point, but were denied

  permission due to the “lack of a replacement.”

         33.    The ship finally arrived at San Diego on March 20, 2020, which is also where

  it is currently located and his been at all times material other than a brief trip for

  provisions in late March.

         34.    Upon information and belief, will remain there until the CDC rescinds its

  no-sail order as the vessel is scheduled to sail on Alaskan and Pacific Northwest

  itineraries in the second half of 2020.

         35.    Defendant’s failure to repatriate its Filipino seafarers unfortunately is not

  the extent of its unscrupulous conduct. In addition to holding its crewmembers hostage,


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   against their will, and with little or no payment of wages, the Defendant has engaged in

   a campaign of disinformation and deception in an effort to avoid mutiny or rebellion on

   board.

            36.   Plaintiff MAGLANA was held without wages since his contract was

   terminated by Defendant on March 30th. He was advised when he was terminated that

   he would be repatriated on April 1, 2020, in accordance with the terms of the Collective

   Bargaining Agreement that Defendant negotiated with the Italian labor union it requires

   all its employees to join.

            37.   Plaintiff BUGAYONG was held without wages since his contract was

   terminated by Defendant on March 30th. He was also advised when he was terminated

   that he would be repatriated on April 1, 2020, in accordance with the terms of the

   Collective Bargaining Agreement (hereinafter “CBA”) referenced in paragraph 36 above.

            38.   Nonetheless, and despite the unequivocal right of seafarers to be paid for

   their time on board Defendant’s vessels under both U.S. law and the CBA, CELEBRITY

   failed to pay its Filipino employees, including Plaintiffs, at various times after the March

   14, 2020 no-sail order.

            39.   Defendant had an absolute obligation to pay Plaintiffs their wages until

   they were repatriated but despite its obligations under the terms of the CBA by which it

   is contractually bound, in addition to U.S. law and International law (Maritime Labor




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   Convention of 2006 which is ratified by Malta4 , the flag state of all Defendant’s non-

   expedition class cruise vessels).

           40.      Defendant held, and continues to hold, thousands of souls captive aboard

   its fleet, including the Plaintiffs, for months without wages or the ability to disembark the

   ship and return home, for no justifiable reason. Although the dates they were last paid

   varies across the class, they have all been held for weeks, and even months, without pay

   or a ticket home.

           41.      Plaintiffs MAGLANA and BUGAYONG were told their April 2st flight had

   been rescheduled to April 8h, then the 16th, and 26th, 28th, and the 11th/12th May

   tentatively, so on and so forth. Not surprisingly, these too were all canceled.

           42.      But why would the cruise lines, and specifically Defendant delay

   repatriation of its crew? The answer, as is usually the case with the cruise industry, comes

   down to dollars and cents: profits are far more important than a replaceable crewmember

   and if someone doesn’t like it, there’s an eager replacement that will gladly accept an

   offer to work on a ship that would pay them over $1200 a month for 75 hours of work per

   work week as an average for 6-9 months.

           43.      As has been the case since at least April 23rd, the CDC has not only allowed

   cruise line crew repatriations from seaports in the U.S., they have provided the cruise

   lines with a detailed protocol of how to do it to avoid and legal consequences:



   4   List of countries that have ratified amendments of 2016 to the MLC, 2006
   https://www.ilo.org/dyn/normlex/en/f?p=1000:11301:::NO:RP,11301:P11301_INSTRUMENT_AMENDMENT_ID,P11301_INSTRUME
   NT_ID:3303970,312331
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           CDC is allowing crew members to disembark from cruise ships in U.S.
           waters and return home if cruise lines submit a signed attestation stating
           that they have complied with requirements to safely disembark their
           crew members. . . CDC shared information with all cruise lines in US waters
           on April 23, 2020, to help crew members return home safely. 5

           44.    The CDC’s position on repatriation was public knowledge shortly after the

   agency published the conditions on its website and providing them to national media. As

   was the basis for the cruise lines’ decision to delay repatriation as long as possible because

   of the associated costs to repatriate their replaceable crew members that did not fall in

   line with the company’s take it or leave it offer.

           45.    Knowing the consequences that would arise due to its unjustified wholesale

   breach of the CBA and violations of international and U.S. law, CELEBRITY maintained

   its unlawful conduct and rather than admit the error of its ways, concocted a narrative

   that claimed that the repatriations were being prevented by the CDC as if they actually

   believed the rouse would work.

           46.    Whether because it was oblivious or intentionally deceiving its crew, the

   fabricated narrative was soon exposed when the CDC revealed that ships in the US or

   within its territorial waters had been given the green-light to repatriate the crewmembers

   in their fleets so long as Defendant agreed to abide by precautionary compliance

   measures that were non-negotiable due to the history of the cruise lines in making big

   promises with little to show for it.



   5CDC Guidelines for Disembarkation of Crew published on April 23, 2020.
   https://www.cdc.gov/coronavirus/2019-ncov/travelers/cruise-ship/cruise-ship-
   member-disembarkations.html
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           47.    As recently as May 1st, on board ships in the Royal Caribbean fleet, within

   the same cruise conglomerate, audio records capture the corporate deception straight

   from the mouth of their vessel masters, including onboard               the Oasis, Anthem and

   Symphony of the Seas. After local media published a story which revealed the extent of the

   rouse, ship captains shamelessly denied the stories and instead, continued to fabricate

   tall tales.

           48.    In fact, according to the Master of the Oasis of the Seas “’[i]n regards to what

   was in the Miami Herald the other day [about economics being the cause of the delay,

   not the CDC], well, that is one of those things that is not true at all,’ said the captain [ ] in

   an announcement Friday.” Similarly, according to the Master of the Symphony of the Seas

   “’[f]irst of all, I’d like to just address the Miami Herald article that came out yesterday,”

   said the captain on the Symphony of the Seas. He joked that the only way to comply with

   the CDC guidelines is for American crew to walk home, citing a requirement that crew

   not interact with the public on their journey home.’”

           49.    Most damning of all though, was the commentary of the Master of the

   Anthem of the Seas who shamelessly lied to the crew and stated:

            ‘There was one article today we all read and we raised that question today
           in a conference call which says that CDC and cruise lines did not come with
           an agreement because it’s too expensive,’ said the captain on the Anthem
           of the Seas Friday. ‘That is absolute false. The money has nothing to do with
           it. It is absolutely not the money that we are concerned. The money is not
           the issue.’”6


   6 Miami Herald article “Royal Caribbean false blames CDC for keeping crew trapped on
   its ships, agency says” dated May 1, 2020
   https://www.miamiherald.com/news/business/tourism-cruises/article242443236.html
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           50.    In reality though, subsequent statements of the company’s corporate

   officers show beyond a doubt that the company was intentionally lying to crew. Days

   after the May 1st report of the Masters’ fabrications and misrepresentations, RCCL CEO

   went on record and stated “he hopes the threat of criminal prosecution will be removed.

   . . ‘we have decided that the importance of getting [crew] home is so great that we will

   sign these documents as they are written today to help get you off the ships.’” 7

           51.    Since those May 3rd promises were memorialized in print, over two weeks

   have come and gone, yet thousands of crew members remain captive on board the ships

   they previously served on, with no wages, and growing more desperate by the day.




           52.    There have been hunger strikes on the Navigator of the Seas “[a]t this



   7Miami Herald article “ Royal Caribbean executives agree to the CDC’s terms for
   disembarking   crew      stuck    on     ships”    dated     May     3,   2020
   https://www.miamiherald.com/news/business/tourism-cruises/article242471226.html
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   moment, we feel that we’re all hostages,’ said one crew member, who asked not to be

   named for fear the company will retaliate and delay repatriation. ‘This company needs

   to understand we are not boxes of food that can be moved around.’”; heart wrenching

   cries for help and multiple suicides. 8

           53.    Without a doubt, we are witnessing a human rights tragedy of immense

   proportions unfold before our very eyes. But unlike in the past, Defendant CELEBRITY

   and its colleagues in the cruise ship cartel cannot hide behind the lawless open oceans

   where many of their misdeeds are typically swept away with the current.

           54.    This time tough, CELEBRITY’s unscrupulous, discriminatory and illegal

   actions are not transpiring on the open ocean thousands of leagues from the nearest point

   of land. This time, the world is watching, the nation is watching, and a failure to act and

   fight for what is right will not go unnoticed. We are all witnesses.

                                    CLASS ACTION ALLEGATIONS

           55.    At all times material hereto, Plaintiffs, the Class Representatives and Class Members

   herein, are and/or were crewmembers who worked for Defendant aboard Defendant’s

   vessels and who are Filipino nationals.

           56.    This action is brought by Plaintiffs MAGLANA and BUGAYONG on their

   own behalf, and pursuant to Fed. R. Civ. P. 23(b)(1-3) they seek to represent a worldwide

   class consisting of:



   Miami Herald article “ Royal Caribbean crew go on hunger strike until company
   8

   proves it is sending them home” dated May 8, 2020
   https://www.miamiherald.com/news/business/tourism-cruises/article242595896.html
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            All other similarly situated Filipino crewmembers who worked aboard
            Defendant’s cruise vessels who remain captive aboard vessels in
            Defendant’s fleet, and are being subjected to the dangerous conditions
            outlined above in connection with Defendant’s callous and unreasonable
            failure to repatriate its crewmembers upon its unilateral decision to
            terminate their contracts and entitlement to wages.

            57.   Plaintiff reserves the right to seek to represent sub-classes of the world-wide

   class.

            58.   Numerosity-- The exact number of members of the class is unknown at this time given that

   many members are currently in voluntary or forced isolation aboard Defendant’s vessels;

   however, at this time it is estimated that there are in excess of over 1700 members. The

   class is so numerous that joinder would be impracticable. Thus, this action satisfies the

   requirements of Rule 23(a)(1).

            59.   Commonality— There are common questions of law and fact that relate to

   and effect the rights of each member of the class and the relief sought is common to the

   entire class. The same misconduct on the part of Defendant, CELEBRTIY, caused the same

   or similar injury to each class member. All members of the class are or were 1) employees

   of the Defendant at all material times; 2) who are Filipino nationals 3) which were

   required to sign the same employment agreements that required their membership in the

   4) same union which Defendant purportedly collectively bargained with. All class

   members were entitled to the rights of wages or repatriation under US law, Maltese law,

   International law, and the CBA agreement.              All class members seek damages and

   equitable relief in the form of a mandatory injunction as described in ¶¶ 1, 4, and 6 above

   and accordingly, this action satisfies the requirement of Rule 23(a)(2).

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          60.    Typicality-- The claims of Plaintiffs are typical of the claims of the class, in

   that the claims of all members of the class, including the named Plaintiff, depend upon a

   virtually identical showing of the acts and omissions of Defendant, CELEBRITY, giving

   rise to the right of Plaintiff to the relief sought herein. Defendant, CELEBRITY, was at all

   times material hereto engaged in the same conduct to the detriment of the entire class of

   Plaintiffs. Accordingly, this action satisfies the requirements of Rule 23(a)(3).

          61.    Adequacy of Representation— Plaintiff is the representative party for the class,

   and is able to, and will, fairly and adequately protect the interests of the class. Plaintiffs

   MAGLANA and BUGAYONG are adequate representatives of the class because: (1) they

   are willing and able to represent the proposed class and have every incentive to pursue

   this action to a successful conclusion; (2) their interests are not in any way antagonistic to

   those of the other class members; and (3) are represented by counsel experienced in

   litigating claims under the General Maritime Law of the United States in addition to the

   statutory modifications and amendments enacted by Congress. Accordingly, this action

   satisfies the requirement of Rule 23(a)(4).

          62.    Propriety of Maintenance of Class Action under Fed. R. Civ. P. 23(b)(1). Class

   action status is appropriate under Fed. R. Civ. P. 23(b)(1) because in light of the number

   of Filipino employees that are currently being held against their will by Defendant,

   adjudication of Plaintiffs prayers for a mandatory injunction would be dispositive of the

   their legal right to be repatriated in accordance with U.S. and International maritime law.




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          63.    Propriety of Maintenance of Class Action under Fed. R. Civ. P. 23(b)(2). Class action status is

   appropriate under Fed. R. Civ. P. 23(b)(2) because CELEBRITY has acted and/or refused

   to act on grounds generally applicable to the class, thereby making final injunctive relief

   appropriate. Such generally applicable grounds consist of the repatriation of its shipboard

   employees to their country of residence, the Philippines, in accordance with U.S. and

   International Maritime law and wages for the time they served aboard the vessel. This

   relief would predominate over monetary relief.

          64.    Propriety of Maintenance of Class Action under Fed. R. Civ. P. 23(b)(3). This

   action is properly maintained as a class action under Rule 23(b)(3) inasmuch as questions

   of law and fact common to the members of the class predominate over any questions

   affecting only individual members, and a class action is superior to the other available

   methods for the fair and efficient adjudication of this controversy. In support of the

   foregoing, Plaintiffs allege that common issues predominate and can be determined on a

   class-wide basis regarding Defendant, CELEBRITY’s violation of Plaintiffs rights to be

   paid wages or repatriated after their contracts end due to Defendant’s unilateral decision

   to terminate their contracts. Moreover, the ships they served on became unseaworthy,

   and in view of Defendant’s callous disregard for the wellbeing of the Plaintiffs who were

   prevented from disembarking Defendant’s ships.

          65.    Moreover, as noted above in paragraphs 15-17, Plaintiffs have historically

   been considered to be a class of individuals that is so particularly vulnerable to abuse and

   exploitation that they were considered to be the wards the Federal Coruts. In our


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   countries two centuries of legal jurisprudence, those classes of individuals that are

   labeled by the judiciary as on the lawless expanses of the open oceans that lack any real

   governmental oversight when beyond the jurisdictional limits of a nation’s territorial

   water

           66.   A class action is superior to other available methods for the fair and efficient

   adjudication of this controversy because it is unlikely that individual plaintiffs would

   assume the burden and the cost of this complex litigation, and Plaintiff is not aware of

   any class members who are interested in individually controlling the prosecution of a

   separate action. The interests of justice will be served by resolving the common disputes

   of the class members with Defendant, CELEBRITY, in a single forum, and individual

   actions by class members, all of whom are citizens of the Philippines would be cost

   prohibitive. The class consists of a finite and identifiable number of individuals which

   will make the matter manageable as a class action.

           67.   Plaintiff anticipates Defendant will attempt to evade any type of governmental oversight

   or public scrutiny by exercising a forced arbitration provision in the CBA. However,

   Defendant’s complete failure to pay Plaintiffs wages for the time they were onboard its

   vessels or alternatively, repatriate them home is a material and complete breach of the

   essence of the CBA which governs the Plaintiffs employment with Defendant in exchange

   for their wages. Accordingly, Defendants lack a legal basis for compelling a contractual

   right which is part of a larger agreement that Defendant has materially breached.




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             68.   In addition, no arbitration provision in any of the Plaintiffs’ employment

   contracts and/or CBAs with CELEBRITY expressly call for arbitration of class action

   employment-related claims, nor contemplate claims for equitable relief and mandatory

   injunctions.

             69.   Aggrieved parties cannot be forced to submit class action disputes to

   arbitration unless there is a contractual basis for concluding that the aggrieved parties

   agreed to do so. Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662, 684-87 (2010) (“[A]

   party may not be compelled under the FAA to submit to class arbitration unless there is a

   contractual basis for concluding that the party agreed to do so . . . An implicit agreement

   to authorize class-action arbitration, however, is not a term that the arbitrator may infer

   solely from the fact of the parties’ agreement to arbitrate. . . class-action arbitration changes

   the nature of arbitration to such a degree that it cannot be presumed the parties consented

   to it by simply agreeing to submit their disputes to an arbitrator.”) (emphasis in original).

             70.   Accordingly, Plaintiffs’ Class Action lawsuit filed in this Court is proper.

   See id.

                        EXHASUTION OF ADMINSTRATIVE REMEDIES

             71.   As referenced above, Plaintiffs have not received the Right to Sue notice

   from the EEOC at this time because the agency has issued a moratorium on them until

   further notice when the virus’s impact on the ability to resume normal operations is better

   known. Plaintiff’s EEOC Charge Filing No. is 510-2020-03917

                                             COUNT I


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    PRELIMINARY MANDATORY INJUNCTION REQUIRING REPATRIATION OF
                 DEFENDANT’S FILIPPINO CREWMEMBERS
                      [CLASS & INDIVIDUAL CLAIM]

          72.    PLAINTIFFS restate and reallege the allegations contained in paragraphs 1

   through 47 above as if fully set forth herein.

          73.    PLAINTIFFS and members of the class are employees of Defendant

   CELEBRITY within the meaning of 42 U.S.C. § 2000(e) et seq., and Fed. R. Civ. P. 23. In

   the alternative, should the Court determine that PLAINTIFFS are precluded from seeking

   relief under Title VII, PLAINTIFFS submit that their class nonetheless satisfies the

   requirements of Fed. R. Civ. P. 23 regardless of Title VII as their class nonetheless

   comports with the prescriptions of Fed. R. Civ. P. 23(a) and (b)(1-3).

          74.    CELEBRITY has adopted and/or maintained subjective employment

   practices, including but not limited to, subjective and disparate practices for complying

   with their legal obligations to repatriate employees that are not earning wages based

   exclusively on their national origins because, on information and belief, the larger the

   number of individuals from a specific national original, the higher the cost for Defendant

   to comply with its obligations under maritime law to repatriate its crew, and accordingly,

   continue to “schedule” repatriation trips on a nearly weekly basis, all of which have been

   “canceled” due to the fabricated narrative that the CDC is prohibiting repatriation.

          75.    PLAINTIFFS will suffer irreparable harm if Defendant continues to

   perpetually delay its obligations under International maritime law (IMO procedures

   relating to the Maritime Labor Convention) and U.S. General Maritime law which the

   U.S. Coast Guard has determined to be consistent with U.S. General Maritime law and
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   requires ships flying a U.S. flag to comply with “NVIC 02-13 uses a Statement of

   Voluntary Compliance (SOVC) and a Declaration of Voluntary Compliance to mirror the

   MLC and the DMLC of the MLC, 2006. The U.S. Coast Guard was extremely meticulous

   in following the letter of the MLC, 2006 for one principal reason: the ‘no more favourable

   (sic) treatment’ clause contained in Article V, paragraph 7 [of the Maritime Labor

   Convention of 2006]. See U.S. Coast Guard’s Circular dated January 6, 2017 implementing

   the MLC’s Repatriation requirements [D.E. 1-1].

         76.      Specifically, PLAINTIFFS have been, and continue to be, irreparably

   harmed by CELEBRITY’s failure to repatriate them which includes, but is not limited to:

               a) mental anguish and emotional distress caused by the discriminatory
                  treatment they have suffered on the basis of their national origins;

               b) multiple suicides;

               c) inability to provide for dependents, including children and parents;

               d) continued potential exposure to the COVID-19 causing coronavirus which
                  has infected well over five million people across the world and killed over
                  300 thousand; and

               e) inability to earn wages from an alternative source of employment in light
                  of CELEBRITY’s decision to terminate their contracts.

         77.      PLAINTIFFS have no adequate remedy of law that would serve to

   immediately enjoin Defendants continued and unlawful violation of PLAINTIFFS’ basic

   human rights and their rights to earn wages or be repatriated to care for their loves ones

   and dependents.

         78.      PLAINTIFFS have a substantial likelihood of success on the merits on its

   claims for false imprisonment and discrimination under Title VII of the U.S. Code which

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   provides for damages for emotional distress in addition to the damages that are

   customarily seen in actions for tort under the General Maritime law of the United States.

         79.    The entry of a preliminary injunction will serve the public interest by

   effectuating the important policy concerns of Title VII preventing workplace

   discrimination on the basis of national origin, amongst others, in addition to reinforcing

   Defendant’s apparent inability or unwillingness to comprehend that no person or

   corporation is above the law.

         80.    PLAINTIFFS have a clear legal right to the relief sought herein.

        WHEREFORE, PLAINTIFFS pray that:


         1)     The Court maintains this matter as a class action on behalf of the
                proposed worldwide class, that Plaintiffs be designated as
                representatives of the class and that their counsel of record be
                designated as Class Counsel;

         2)     That the Court enter an injunction against Defendant CELEBRITY
                Ordering it to repatriate its Filipino seafarers that are not actively
                being paid wages, and are being held against their will aboard ships
                in CELEBRITY’s fleet;

         3)     That the Court Order Defendant to submit an accounting to the
                Court of the wages since the CDC’s March 14, 2020 No-Sail Order for
                Plaintiffs individually and on behalf of all similarly situated Filipino
                seafarers held and or still being held against their will by Defendant
                CELEBRITY onboard vessels in its fleet;

         4)     That judgement be entered in favor of Plaintiffs and the members of
                the class set forth herein, and against Defendant, for back pay
                (including interest or an appropriate inflation factor), front pay,
                benefits and all other amounts owed to Plaintiffs and the members of
                the class;

         5)     That the Plaintiffs be awarded costs, including but not limited to,
                attorneys’ fees, experts’ fees, and other costs and expenses of this

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                  litigation, and pray for such other relief in equity which this Court
                  deems just and proper.

          6)      That the Court retain jurisdiction over Defendant until such time as
                  it is satisfied that it has remedied the practices complained of and it
                  determined to be in full compliance with the law.


                                       COUNT II
                     INTENTIONAL TORT OF FALSE IMPRISONMENT
                             [CLASS & INDIVIDUAL CLAIM]

          81.     PLAINTIFFS restate and reallege the allegations contained in paragraphs 1

   through 47 above as if fully set forth herein.

          82.     At all times material Defendant CELEBRITY intentionally caused the

   Plaintiffs to be held captive against their will with no wages or ability to leave the ship

   due to Defendant’s election to ignore and violate their legal obligations under the laws of

   this country, International law and the Maritime Labor Convention of 2006 and its

   amendments.

          83.     The restraint of the Filipino seafarer PLAINTIFFS as a class, and

   PLAINTFFS      MAGLANA and BUGAYONG                   as   Class     Representatives       and/or

   individually, was done against PLAINTIFFS’ collective will through acts directly and in

   a natural and continuous sequence to produce or contribute substantially to producing

   the unjustified and intentional restraint of the class as a whole, so that it can be reasonably

   said   that,   but   for   those   acts   of     CELEBRITY,      the    seemingly       perpetual

   restraint/imprisonment would not have occurred, by confining the Plaintiffs to a

   perpetual confinement on its ships for reasons unknown to Plaintiffs but clearly in

   violation on US and International law.
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          84.    As a result of the Defendant CELEBRITY's false imprisonment of the

   Plaintiffs, they were physically and emotionally injured about their bodies and

   extremities, suffered physical pain, mental anguish, loss of enjoyment of life,

   disability, disfigurement, aggravation of any previously existing conditions

   therefrom, incurred medical expenses in the care and treatment of plaintiffs injuries,

   suffered physical handicap, lost wages and their working ability has been impaired in

   the future. The injuries are permanent or continuing in nature, and Plaintiff will suffer

   the losses and impairments in the future. In addition, plaintiff lost the benefit of

   plaintiffs vacation, cruise, and transportation costs.

          Wherefore, the plaintiffs demands judgment for all damages recoverable under

   the law against the Defendant CELEBRITY, including compensatory damages, costs,

   including attorneys’ fees and experts’ fees, punitive damages based on the intentional

   nature of CELEBRITY’s conduct to the maximum extent allowed under the law, and

   demands trial by jury, and for any other relief the Court dete4rmines reasonable and just.

                              COUNT III
     EMPLOYMENT DISCRIMINATION ON THE BASIS OF NATIONAL ORIGIN
                     [CLASS & INDIVIDUAL CLAIM]

          85.    PLAINTIFFS restate and reallege the allegations contained in above

   Paragraphs 1 through 47 of this Complaint as though set forth here in full.

          86.    Plaintiffs and members of the class are employees of CELEBRITY within

   the meaning of 42 U.S.C. § 2000(e) et seq.




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            87.   The discriminatory policies or practices of CELEBRITY, as set forth in this

   Complaint, have denied Plaintiffs and members of the class their right to equal

   employment opportunity in violation of 42 U.S.C. § 2000(e) et seq.

            88.   CELEBRITY has adopted and/or maintained a system-wide policy or

   practice of discrimination by, among other things, denying Plaintiffs and members of the

   class equal opportunities as described above.

            89.   CELEBRITY has adopted and/or maintained subjective employment

   practices, including but not limited to, subjective and disparate practices repatriating

   employees based exclusively on their national origin. Through the apparent use of a

   “cost/benefit analysis” type approach of comparing potential costs of repatriation versus

   keep employees on board until the no-sail orders are lift later this year, to hell with their

   needs.

            90.   The embodiment of the “profits over people” concept implemented by

   CELEBRITY to intentionally withhold its employees’ wages and simultaneously deprive

   them of their ability to return home and reunite with loved ones.

            91.   Sadly, CELEBRITY determines the ability of their crew to return home and

   be freed from their illegal captivity is based entirely on their national origin.

            92.   This is clear evidence of their belief that they can act with impunity because

   of the legal gymnastics they play with their principal place of business and Headquarters.

   in Miami, claims of Liberian citizenship, and operating vessels that fly under the flag of

   Malta.


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          93.     By reason of CELEBRITY's discriminatory policies or practices as set forth in

   this Complaint, Plaintiff and members of the class have suffered damages including, but not

   limited to, lost income, lost benefits, embarrassment, emotional distress, physical injury,

   humiliation, indignity and a reduced quality of life, since the discrimination began and into

   the future.

         WHEREFORE, the plaintiffs demand judgment for all damages recoverable under

   the law against the Defendant CELEBRITY, including compensatory damages,

   injunctive/equitable relief prayed for in Count II, their costs, including attorneys’ fees

   and experts’ fees, punitive damages based on the intentional nature of CELEBRITY’s

   conduct to the maximum extent allowed under the law, and for any other relief the Court

   determines reasonable and just.

                                    COUNT IV
                 WAGES AND PENALTIES PURSUANT TO 46 U.S.C. § 10313
                           [CLASS & INDIVIDUAL CLAIM]

          94.     Plaintiffs re-allege, incorporate by reference, and adopt paragraphs 1 47

   above as though originally alleged herein.

          95.     At all times material hereto, Plaintiffs were employed as seamen in the

   service of the vessel.

          96.     While in the service of the ship, Plaintiffs performed all the work required

   of them, and carried out the orders given by their superiors.

          97.     Plaintiffs were discharged without any just or sufficient cause. At the time

   of Plaintiffs‘ discharge, the vessel was, and remains in, a port of the United States.

          98.     At the time of Plaintiffs discharge, Defendant did not pay Plaintiff all
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   of their earned wages, including reimbursement of deductions previously made of

   Plaintiffs’ wages. Defendant has sole custody and control of Plaintiffs wage

   records and personnel files. These documents are needed by Plaintiff to review to

   show exact dates and amounts with respect to earned wages owing to Plaintiff and

   deductions made from such earned wages and reflect the equitable accounting

   prayed for in Count I above.

          99.    At the time of Plaintiffs’ discharge, Plaintiff demanded all their wages,

   including reimbursement of deductions made from Plaintiff s earned wages.

          100.   Defendant refused to pay Plaintiffs all their earned wages or reimburse

   Plaintiffs for the deductions made there from, without sufficient cause.

          101.   Under 46 U.S.C.A. Section 10313, Plaintiff is entitled to his earned

   wages, deductions, and two days wages for each day payment is delayed.

          WHEREFORE, Plaintiff demands all damages entitled to by law, attorney's fees,

   prejudgment and post-judgment interest, costs and demands jury trial of all issues so

   triable.

                                     COUNT V
                 INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                           [CLASS & INDIVIDUAL CLAIM]

          102.   Plaintiffs re-allege, incorporate by reference, and adopt paragraphs 1 through 47 above

   as though originally alleged herein.

          103.   At all times material hereto, Plaintiffs were held onboard the ship’s in

   Defendant CELEBRITY’s fleet unlawfully and without just cause, perpetually, without

   wages or ability to escape their captors who were holding them under draconian rules
                                            º 28 º
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   designed to intimidate and discourage crew members from leaking information to the

   media and legal counsel from the confines of the ship. Not surprisingly, the company was

   concerned that it was hurting the company’s public image during a time where it was

   already sensitive to public attention to its involvement in facilitating the spread of the

   pandemic.

         104.   CELEBRITY’S conduct was intentional or reckless, that is, it intended its

   behavior when it knew or should have known that emotional distress would likely result.

         105.   The conduct was outrageous, that is, as to go beyond all bounds of decency,

   and to be regarded as odious and utterly intolerable in a civilized community insofar as

   human beings are being treated more like cattle than people and being transferred from

   ship[ to ship, into perpetuity, while continually exposed to the pandemic. Accordingly,

   the emotional distress they are and have suffered was severe.

         106.   Plaintiffs have and will continue to suffer emotion distress and mental

   anguish as a result of Defendant’s intentionally callous conduct which was so severe as

   to cause Plaintiffs’ mental anguish.

         WHEREFORE, the plaintiffs demand judgment for all damages recoverable under

   the law against the Defendant CELEBRITY, including compensatory damages,

   injunctive/equitable relief prayed for in Count II, their costs, including attorneys’ fees

   and experts’ fees, punitive damages based on the intentional nature of CELEBRITY’s

   conduct to the maximum extent allowed under the law, and for any other relief the Court

   determines reasonable and just.


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   Respectfully submitted this on this 20thday of June, 2020.




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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on June 20th, 2020 I electronically filed this document

   using the Court’s CM/ECF system, and the Service List below, which will automatically

   serve a copy on all counsel of record.

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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 20-22133-CIV-MARTINEZ

   Plaintiffs RYAN MAUNES MAGLANA and FRANCIS KARL BUGAYONG, on their
       own behalf and as class representatives for all other similarly situated Filipino
                 crewmembers trapped aboard CELEBRITY cruise vessels,

                                              v.

                          Defendant, CELEBRITY CRUISES INC.

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